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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                           CASE NO.23-80101-CR-CANNON

  UNITED STATES OF AMERICA

  v.

  CARLOS DE OLIVEIRA
                 Defendant.
  ____________________________/

                  MOTION FOR LEAVE TO BE EXCUSED FROM
                    THE MAY 22, 2024, MOTIONS HEARING

          Undersigned counsel, John Irving, respectfully requests leave of the Court to

  be excused from the non-evidentiary hearing that the Court scheduled on May 7,

  2024 (ECF No. 530) on Defendant Nauta’s Motion to Dismiss for Selective and

  Vindictive Prosecution (ECF No. 485) and on Defendants’ Motion to Dismiss

  Indictment for Insufficient Pleading (ECF No. 352). The basis for this request is as

  follows:

       1. Undersigned counsel, John Irving, would like to attend his daughter’s college

          graduation on May 22, 2024;

       2. Undersigned counsel anticipate that counsel for codefendants Nauta and/or

          Trump will primarily argue the motions to be heard;

       3. Co-counsel for Mr. De Oliveira, Donnie Murrell, will attend the hearing;
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     4. Mr. De Oliveira consents to this request; and

     5. Counsel for the Government and co-defendants Nauta and Trump have

        consented to this request.

        Wherefore, undersigned counsel John Irving respectfully requests the Court’s

  permission to be excused from the May 22, 2024, hearing.


  Dated: May 10, 2024


                                     Respectfully Submitted

                                       /s Larry Donald Murrell, Jr.       b
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                                       /s John S. Irving, IV               g
                                     JOHN S. IRVING, IV
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                                     Attorneys for Defendant Carlos De Oliveira
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 10, 2024, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

  counsel of record via transmission of Notices of Electronic Filing.



                                     /s Larry Donald Murrell, Jr.       b
                                  LARRY DONALD MURRELL, JR.
